Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page 1 of 24

Pro Se Intake Unit
U.S. District Court, Southern District of New York

40 Foley Square, Room 105
New York, NY 10007

Cheek Orpet

 

Case No.2 ‘2 viet 3S
Write the full name of each plaintiff or petitioner. AT eeft Ce plies oe US pa Te /

-against- Letter re 7/182, S40 $ Chams.
MTA
Write the full name of each defendant or respondent.
Yowe  jtor-
tits Cake Woes 8) rhode Lagep
On pupey , D2 OF _ Arnfh falzp Toba Dee.
jd, 2022» | Am _waporns “Teday )3e: /2 Z2dte

“Th 3— Plex L, LAS pelan[ Fry /STE, FLO
Bocamnn le Zo afenspy filsb Deere (.

Titentk yoos feo soe & Comespraa lt.

DN FATS CA8é.

 

 

 

 

rol) | 22

Dated

CLICK CRZNe Ong Pasoaldenf # (f available)
6 Ys pots THR lewé Sb onal [JOE 7

Address City State Zip Code

Lie bG/ YSES

Teikpote Number Gf available) E-mail Address (if available)

 

Signature

 

 
Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page 2 of 24

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page 3 of 24

UNITED STATES DISTRICT COURT FOR THE SOUTHERN

DISTRICT OF NEW YORK.

CHIKEZIE OTTAH

Pro se office

CHIKEZIE OTTAH

648 DOROTHEA LANE, NEW YORK
11003, USA

M T A
2 BROADWAY
NEW YORK, NEW YORK
10004

16
Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22

eddie Ottah <eddieottah@gmail.com>
To:

Chikezie Ottah

Sun, Dec 4 at 2:04 PM

MEANING OF SECURE

Dictionary

Definitions from Oxford Languages - Learn more

Search for a word

se-cure

/sa'kyoor/

adjective

fixed or fastened so as not to give way, become loose, or be lost.

"check to ensure that all nuts and bolts are secure"

Page 4 of 24

17
 

 

 

Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22. Page.5.of24

“eae

ax United States Patent

 

007452 84082 ‘

(10) Patent No,: US 7,152,840 B2

 

Ottah et al. (48) Date of Patent: Dec. 26, 2006
(54) BOOK. HOLDER. AOU O13 AY SHOTF Wiersma scouts, 248453
“4431,156 A-* 2/084 Mona’... 1 2a8/44s
(76) Invehtors: Chikezie Ottah, 1035 Clarkson Ave., jet é . vetoes rome we aan
IL, 124 : y. _ Hellenbrand ef al /
Chimie Oval mY (US) a3 4,790,506 A * 12/1988 Malinowski et al. «... 248/44.)
. “AS67407 Ac* 9/1989 Becker’ ....; « 2484445
GRA, Enugu State (NG); Keneth 5.054736 A * JOFI99! Champoux. , 2abidiid
th sie F. ‘ VED a npoux tee :
‘Ottah, 4) Ave H6, TransEklia, GRA, §USB, 149 A * AOLO94 Stone, vesence . 446/73
Enugu State (NG) $460,102. A *° [0/1995 Pasmanick, . 10843
. : 5.595.489. A * W197 Kwon... A343 ]9
C#) Noticer ‘Subject to any diselaiiricy, the term of this SOISS56C A * 411997  Simington 248/452
paicnt is extended or adjusted under35- 5,709,365 & *. 11998 Howard ..., 24g 54
U.S.C, 154(b) by 0 days. 5758423 A + 5/1998 Michela . 248/459.
, 5,855,529. A * 1/1999 Pagano .....,. s
(21) Appl. No.: 10/366,779 5,884,888 A “ 341999 Grimes et al. 288/441. I
, 5,045,179 A * 472000 Harrison... . 2OTT88.2
- Biled: Ape. 24. 2 6,064,855 A * 572000 He cccseree 434317
(22), Filed: Apr. 24, 2003 6:202,973-Bi* “3/2001 -Nowarin et a .. 248/444
(65} Prior Publicatian Data
te cs oe * cited by exantner
US 2004/6214154 AJ Oct, 28; 2004 -
Peamary Exaniher—Kurt Fernsirom
(57) tnt. Cl. (74) Auiorney, dgent, or Firm—ilames.D. Palmatier, Applied
A42B 510d (2006-01) Patent Services
(52) U.S. CL ws 248/444.1 oo
(58) Fictd of Classification Search . vere AB4/179, (57) ABSTRACI
434/308; 309, 317, 322, 365, A428, 430, 432; oO
248/441,1,444, 445,448, 449, 450, 451, A book holder removably attachable toa vehicle or structure.
248/434, 458° such as a stroller, waiker, wheelchair or-car seat for mobile
See application ‘fi ‘filé for complete search: history. applications. The book holder for holding.a book-or drawing
surface in a usable position thereon for “by the occupant of
(36) Referehées Cited the vehicle: The book holder comprising an adjustable clasp

1,377,230 A ®
‘2,439,950 A *
2,627,604 A *
3,351,312 A * 1/1967
3,408,032 A *
3497,.882 A *

      

U.S. PATENT DOCUMENTS.
511921
4/3948
ZIay

.. 2AR/AS4
248/447
2487447

‘Taylor...
‘Rogers ..
“Saecker .
Ballas ..:
10/1968 Francis
WI9TO Weeks ...

 

  
   
 

 

ZAS/4as -
248/450
« AB2/1 48.

    
 
 
   
     
 
      
 

ou the vehicle, an arm éxtending t6 4 book plaiforni, the arm

providing. rotational pivotal and. axial adjustinent to hold the

platfonn in spaced relation.to the clasp. A plurality of spring
biased clamps on the. platform to.secure the book to the book
holder.

1

1/Claim,.4 Drawing Sheets |

426
Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page 6 of.24......-—-——-—-—---~-—_»»

U.S. Patent Dec. 26,2006 Sheet 1 of 4 - US 7,152,840 B2

 

 

 

 

 

 

426

ele
216

 

 

 

 

 

 
 

Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22--Page 7-ot24

ee

U.S. Patent Dee. 26, 2006 Sheet 2 of 4 US 7,152,840 B2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Fig. 3
Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page 8 of 24

U.S. Patent — dec. 26,2006 Sheet 3 of 4 US 7,152,840 B2

be

410.

 
Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page 9 of 24

 

U.S. Patent Dec. 26, 2006 Sheet 4 of 4 US 7,152,840 B2
109
4 9G,

122

 

120

 

 

 

SS 104 106

 

 
Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page 10 of 24

var

US 7,152,840 B2

1
BOOK: HOLDER

BACKGROUND OF THE INVENTION:

1.Field of the Invention.
The presentsinvertion relates generally: ‘to a removable

book holder assembly for use by-a person in a. protective or

tnobile structure such as a. cat séat, wheelchair, walkex, or
stroller, The Book holder having an adjusiable,, releasable

clipping nieans and @ support arm configured for axial).
rotational and pivotal adjustment of the book :snpporting

stirface of (he book holder fo-hold a book jtt.a réadable
position jn front of the. user.
2. Description-of the Related Art

‘The prior art of book -holders comprises a variety of

devices for supporting a.book dn.a platform in a position for

viewing ‘oF. redding. A conventional. book holder includes a |

‘supporting structure for supporting, the book support on a
table. The platform i is supported by a table or other such flar
structure as-seen in the Michela U:S. Pat, No.5 755, A2¥ for
a FOLDING PORTABLE SUPPORT STAND, wherein. ‘a
device is disclosed coinprising hinged covers folding into a
support structure for holding a booking the open position on
a Mat horizontal surface. .

The prior art also discloses: structures built around the
‘person to hold a book in useful relation such as the ADJUST:
ABLE BOOK HOLDER in U.S. Pat. .No. 6,202,973 fo
Navarin, et al..in the '973 patent a structure is disclosed for
hiolding a book in a readable position.on a structure attach-
ablé to the reader’s torso. The Weeks U:S. Pat. No. 3,497,
882. for SUPPORT MECHANISM FOR SUPPORTING
VARIOUS DEVICES TO'BE.EMPLOYED IN COOPERA-
TION WITH A HOSPITAL BED likewise discloges-a sup-
port sificture’. disposed ver the bed anda book holder
slidably mounted ov the support structure for. holding | the
book in reading, pogition while the’reader is lying. i in bed.

The Wiersma U.S. Pat; No, 4,201,013 for a BOOK
HOLDING DEVICE discloses 4 detachable device for-use
on a bed to suspend a book holder from over the reader’ s
head, The Wicrsma device-.is clamped to a-headboard ofa

. bed using C-clamps.

‘The book.holders disclosed in the prior art suffer from.a
number of disadvanlages. In particular, such book helders
include da not pravide an adequate solution for young
children of mobility limited ‘adulis. These people:spend a
significant amount of their time outdoors (ag. » parks,
beaches, playground, theme parks, ote) and conventional
“book holders are pimarily designed for indoor use. The.
book holders.in the prior-art Jack the ease of application to

a mobile vehiclestich as a wheelchair or stroller-to allow the.
reader to have mobility-to explore aheir environment ina
Stationary sitting or reclining position’ while reading a book.

‘supported on thé mobile véhicle. As a result, the learning
benefits are significantly reduced..

The: prior art does not aécommodafe easy and quick.
attaching the book support dato 2 structure for mobile use,

“Thus there is-a need for aj improved Book Holder that is

quickly aud. easily clipped to a mobile vehicle. such as a:
wheelchair or strolier for holding the Book inca. reading.

position. in spaced relalion to the cli ip.
SUMMARY OF THE.INVENTION

_ Tris an object of the present javention to provide-a book
holder that can be easily and remvoably ‘attached to and
‘retioyed from a bar or portion of the mobile velicle without
tools.

20

35

a0

45

40

"65

60-

63

2
Ht i$ anv object of the présent invention to provide ah
adjustable clasp for attaching the book holdex to the mobile
vehicle to easily and quickly atlach or detach the. book

‘holder.

It ig Further abject of the present invention. to provide an
arn between the clasp and the book suppori platforn to hold
the honk in. spaced relatio fram the clip.

it is another objectof the present invention to provide a
pivotal-attachzhent between the: clasp and the support plat-
form to hold the book on the:support platform at-a selected
angle wilh respect to the reader for ease. of viewing..

Tt is. another Object of the present invention lo provide a
teleseoping anu belween the clasp and the book support
platform to axially “adjust the position of the support plat-
form with respect to the clasp to position the platforai in a
position: for ease of viewing by the reader.

H is. another object -of the present invention to provide a
hook holder having an eléngate arm with a rotational

‘adjustment fo rotate the position of the support platforn. with

respect to the clasp 10.2 position, for ase of viewing by the
reader.

It is another object of the:present invention to- provide a

clasp comiprising a.clip ‘having:an adjustable, resilient arm

for removably attaching, to a Mounting, structure on the
mobile vehicle,

if is another object -of the present invention to provide a
locking means on the book holder’ to. retain the retatianal,
pivotal and axial ‘position of the support platform with
respect t0 ‘the ‘clasp..

It is another object of the present invention to provide a
‘Support platform adaptable for use as u writing board.

It is another objectiof the present invention to provide a
conriector meatis for remvoably securitig a book to the boak’
holder io a reading position,

BRIEF PESCRIPTION OF THE DRAWINGS:

‘FIG. 1 is-a perspective view of a book holder'showing a
first embodiment: of the present invention;

FIG, 2 is-a schemati¢ view of.a book holder aécording to
a second embodiment of the present invention;

FIG. 3 is an exploded view 6f a. book. holder illustrating
the square. telescoping arm;

FIG, 4-is a side perspective View of thé book tiolder af.
FIG: 1 illustrating an alternative clip arrangement;

FIG. 5 isa perspective view an adjustable clip;

PIG, 6 is a perspective view of a book clamp..

FIG. 7 is a pefspective view of a clip-arm.

PIG. 8 is a elevation view ofa plurality of clip. arns Sram.
FIG. 7 on the clasp for releasable attachuirent of the book
holder to a. mobile vehicle.

DETAILED DESCRIPTION OF THE
INVENTION

Referring to FIG..1 there “is "lusirated a book holder
assembly 10 according to the first embodiment of preselit
invention, The book holder 10 comprises.:book platform 12
and an adjustable-arm 14 and a-clasp 15, The book plarfonm
12 includes a generally planar panel-1 6 iaving a front 18 and
a rear surface 20. The frorit surface 18 is configured to hotd
a book or suitable for nse as-a writing/drawing board (eg-a
white-baard, 4 ‘blackboard, an electronic board), :The rear

surface 20 of the book platform 12 is attached to the

adjustable support arm 14 at angle suitable for-reading. The
book platform 12 can be integrally formed: with the support
an 14-such that the support. arm 14 forms.a portion of the
Case 1:22-cv-10435-JMF Document 2 Filed.12/12/22...-Page- LE Of ed mene

US 7,152,840 B2

3

book support protnides, from the rear surface 20 of the panel
16, Preferably, though the supporting arm 14 and the. book
plaiform 12 dre provided as separate items to be assembled
by the user,

Mounted (o-the front suiface 18 of pane! 16 are two pairs
of spring biased book clamps .22 for securing a book (nal
shawn),to-the book holder.16. The fir st pair of spring biasdd
book cl amps: 224, 22b is located near the wp edge 24, The
second pair of spring biased-book:clamps 22c, 22d i is located
near ‘the bottorh edge 26.

Coritihuing to refer to FIG. 1 the panel 16: may be made

of plastic and the book clainps'22 made of steel covered by -

plasiié. However, other materials’ suclras wood, metal, ele,
and combination thereof may be-used inthe manufucturing,
of the book holder: ‘assenibly 10.
_, The apm 14 comprises-a first end 23 and second end 25.
The clasp 15 is on the first end 23, The sccond‘end 23.is a
spaced from the first end23. The second end 25'is adjustably.
attached to the book. platfona “12. The’ arn 14 includes-a
‘teléscoping arrangement 32 in which an upper support
portion 34 of ihe support arm: 14 slides within a lower
‘support portién 36 and is held at a selected position by a
locking menober 455 @ 1G, 2). The lower support portion 36
of the ‘stipport arm 14 is-attached to the clasp 15. The clasp
15 comprises one or more-clips 40 for removeably anaching
the book holder 10 to the mobile vehicle (not shown).

The clips 49 are adjustable in shape. arid size to ft the
‘shape.and size’ of thé supporting frarhe member on the

mobile vehiclé (not shown). The clips 40 coinprise a pairof'

resilient C-shaped clip arms 42 adjustably attached to the
clip. 40; The first clip arn 42a is spaced fromthe second clip
ann 426 in order to tightly retain the supporting frame
member of the mobile vehicle (not shown) thereberveen. To
‘Secure the book holder 10, the user forces thie ¢lip-arms 42¢

arid: 42b apart 16 allow the frame. member to slip between the ;

clip-arms 42a, 425. The clip-arms 42a, 424 thea shap
résiliently together to hold the-book holder 10 to. the frame
member’ (not: shown) of the mobile. vehicle (riot showin).
‘Referring to-FIG. 2; the book holder 210 comprises a book
support plationm. 212, a generally planar panel 216, a
support arm 214-and a dual, clasp 215. The-support ann 214
comprises a support member’S0 extending from ihe middie
section of the panel 216, an elorigaié arm $2. and an
adjustable angle mount $4, The angle mount 54 connects.tlie
support member 50 to, the elongate arth 52 to hold the panel
216 in spaced relation to tle clasp 215. The angle. mount 5d
comprises locking. member 55 to hold the panel 214 and
clasp 215 tn the user. selected position. The angle niount 54
allows the piincl.216 to be adjusted both axially and rota-

‘tionally with respect to the clasp 245. The book support’ 212 -

may he-pivotally mounted (FIG. 4) to the support member

50 to allow the pane! 216 to be pivoted with respect lo the:

support member 50.
Continuing to refer to FIG. 2, the dual clasp 215 com-

prises a clip bar 238 and a: pair of clips 240 attached to. the -

‘clip bar-238. The clips 240 are spaced from each other té
Provide a secuve: attachment io thé mobile vehicle: (not
shown). AS a result, the. book: holder 210 of FIG. 2 is
adjustable for height and rotation and pivotal angle with
respect to the clasp 215.

Referring now to FIG: 3 an alternative support.arm'314
comiprises: concentrically mounted, square tube members 60,
62. The open box-shaped male member 60 is adapted to
‘attach to a “book: support platform. (12; FIG. 1) on one.end
‘and slidably insert into member 62. with the. other end. The
inale niember 60-js adapted for separable, concentric inter-
connection with the femule meniber 62-10 form a telescoping

+d

i}

NI
wi

4g

‘60

4
atrangément for axial adjustment of the spaced. relational
digtance. Hetween the book support 312 did the. female
ernber 62. The male nieinber 60- comprises'a front portion
6d, a back portion 66a, a pair of side j pdrtions 68a and 70a,

- a lower portion 72a, anda tap 74a. The side portions 68a

and 70¢ of the male member: 60 -have-holes 800 Jormed in
a pattern theréin. The, top’ 74a is adapted to-attach to the book
support (12, FIG. I). The female. member 62 comprises a
front portion 666,.4 back portion 665, a pair of side’ poftions
685 and 705, a lower portion 724, and an open.sop 74). The
side portions 644 and 66.0f the male member 62.have hdles
804 formed therein for.concentric aligrment-with the holes
800 in the malemember 60.. The lower portion 726.38
adapted'to attach to: the. clasp 15. The male member: 60 fits
slidably into the female member. 62 such that at Jeast aac
hole 86a in the ‘side wall 6da of male member 60 -is
concentrically aligned with a hole 80 in the adjacent. side
wall 644 of the female member 62 at a predetenmined
positionité miially space the clasp’ 18 fron the book support
(12, PIG: 1). The-user then fixes the male meinber 60 to the
female meniber 62 by connector means (not shown).

FIG. 4 jilustrates a book-holder 410 comprising a book
Support 412 and a support arm 414, The support arm 414

‘cainpeises a clasp 15, a. lower sedtiow 73 and-.an Upper
x section 75,.The clasp 45 comprises ap adjustable’ clip ‘70

pronnted Gn the lower section 73.The adjystable clip 70 is
‘TStatabie will respect to thé anni 414 to removabl ly.attach the

‘hook. holder 4£0 to a vertical.or horkzontal object (eg, a pole)
(iG shown) on the mobile vehicle, The'arn connector 415:
tolateably and slidably attaches the lower section 73 of the

supporihg. arm. 414 to the upper section 75. the «upper
section. 75 has-pivotal connector 426 (FIG. 4) on the-book
support 432, ‘Fhe’ clip. “70 has adjustable élip arms 74a, 745
to-allow diferent sizes of objects to be attached to-the book:
hgider 410: The position of the-clip arms.74a, 74 along. the
‘tlip body 78 can be selectively fixed ‘by-a'serew 415.

Referring wo FIG. 5, the clasp 15 includes a clip body
10tand-a pairof lips arms 74a, 746 extending fronr the clip
body. 101. The clip 70. comprises:a “clip head 79 having a
plurality of holes 77 fastener. The clip arms 74a, 746 are
mounted. op. the clip lead 79 4a spaced relation to securely
and removably attach the ook holder 414 (FIG..-4) to the
mobile vehicle (not shown). The. body 101 :0fthe clip.70 may
havea plorality of lioles 91 formed therein in spaced relation
to each other for adjustable connection of the clip’ 70 (0 the.
ann 414 (FIG. 4). Each clip arm.is altached to the clip body
in one-of several selectable-positions along said clip: body.
Preferably,. the clip, 70 inchides a clip body 102 on the arm
414,.a clip head 79 on the clip “body: 101 and’a plurality of

“lip. arms 74a, 746 removatily attached to the clip head 79.

A screw 415 orother: fastener is zemvoably aitached to. the
clip head 79 ‘far selectively fixing the position of said clip
ann “along. said clip body. The clip means may alternatively
be. a.spring.<lip or inclide at least’one resilient clip-arm,
‘Referring to FIG. 6 the head 791s shown with two sets of
clip arnis 74@, 742Each clip arm.74a and 74h is attached by.
fastener’81 which ‘may be removable such ag a screw. The

‘arms 74 are thereby adjustably spaced from ‘each other to

adapt to resiliently clasping onto a mouriting, portisit-of tie.
mobile vebicle (nit shown),

telesring to FIG. 7 a clip arm. 74 is: shown comprisirig a
flex scctian 103, a hase 102 and’a tip 107: The base 102 has
one: or more. holes 109 formed therein for aligning with a
hote on the clip head’79 16 accoramodate attaching the clip

3 dim. 744 to the clip head 79 by ‘screw, rivet or otlier

mechanical dastener Bl, The clip arms 76a, 746 are atiached
iy’ the.clip head 79-in a C relation (FIG. 6) to form adjustable.
 

Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page: 12-0f 24

US 7,152,840 B2

Sot .
‘clasp 15. The flex section 103 allows: the tip 107 to deflect
front its rest position to accommodate: the portion of the
vehicle to be-attached to be disposed between the clip arms
744, 746, The resilient, material of the lip arms 74a, 746
urges the ‘tip 107 back to the rest position causing. the clip
ann 74a; 746 to Bear against the vehicle to removably attach

the bogk heillder-10 tothe vehicle. (ot shown). Tip 107 may.

also have holes 169 formed therein for alternate’ configuia-
tions on head 79 (FIG, 6) or alternate. attachment methods:

Referring to FIG. 8. a book clamp 22. comprising a body
‘108, a spring 120.and 4 slidable grip 122. The slidable grip
122 is slidably mounted w the body 108. The spring 120 bas
a firgtcend 124 onthe bady 108 anda secorid end 126 of the
grip 122, to urge: the grip‘in the clamped position 127. The
book clamp 22 is. mounted to the panel 16 having the-prip
122 extending from the front surface 18 for engaging a book

or other device lo-be-retained on the book, holder 19. The.
sping 129 and slidable: attachment between the grip 122.and.

the.clamp body 108-allow:the grip to be moved into position
to engage: the book with the finger portion 128 of the grip

122, Thé sprhig 120° bears agains! the grip 122 to hold the.

hook against the-front surface £8. thereby securing the book
{noi shown) io the book holder 16;
In use, the book holder 10 is attached to thé vehicle (ot

shown)-by use-of the clasp 15. The clasp 15 is. rotationally 2

adjusted on.the support structure on the -véhicle to begny the
book holder 30 adjustment to a usable-position. The tele~

scoping mechanism in the-arm 14 is used to axially adjust,

the spacing between the-clasp 15 and the support. platform
12. The rotational coupling between the first end of the ann
14-and the secénd end of the anm is used to rotate the. support
platform around the axis’ ofthe wm 14 ta-xn operable

position. Lastely, the pivotal connection 420 (FIG. .4)

between the am 14: and the support plalorm 12.
The:book platform 12 may also be used 16 support such

items as audio/video equipment, PDAs, or mobile phones,

caineras, computers; rausical iastruments, toys, puzzles and

games. The panel 16 may be pravided with a set. of mounting,
‘positions for receiving and/or, mounting the above jtemis.

(NOT SHOWN);

15

20

30

5

6.
Although the invention has been described above in
connection with particular embodimeats and cxamples, it
will be appreciated by.-those skilled in ihe art that the

invention is not necessarily’so limited; and that numerous

other embodiments, examples, uses, modifications cand
departures from the ‘enibodiments, examples ‘and uses are

‘intended to be encompassed by the claims attached hereto.

The. entire disclosure. of cath patent and publication cited

ligrein ds: ‘theorporated -by reference, ds if each such patent or

publication were individually incorporated by reference
herein, .

We claian:.
1, A book holder for removable attachment, the book.

‘holder comprising:

a book support platform, the book suppdtt platform com-

prising: a front surface, a rear surface-and.a plurality. of
clamps, the front surface adapted for ‘Suppdrting a‘book,

the plurality of clamps. dispased on the front surface to
engage and-rotain. the, baok to the book suppoit -plat-
form, the redr surface separated from the front-surface:

a clasp. comprising 4 clip head, a clip body and a pair'of
resijient clip arms, the clip arms adjustably: mounied.on
ihe clip Head, ihe! clip Kead attached 40 thé clip body;-
and

an ara comprising a‘fitst end aid a second end and a
telescoping arrangement, the clasp on the;first end, the
second end pivotally attached to the book’ support
platform, the telescoping arrangement interconnecting,
the first.end tob the second end, the-clasp spaced from
the book support-platform wherein the book holder is
removably attached and adjusted to a reading posifion
bythe iclescoping arrangement: ‘axially adjusting, the
spaced relation between. the book’ support platfonn aid
the clasp and the pivotal connection on. ihe took
support. ‘platfomn pivotally adjusting the’ front, surface
with respect to the arm.

eR oH
Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page 13 of 24

We Claim
A book holder for removably attachment , the book holder comprising:

a book support platform, the book support platform comprising, a front surface, a rear surface, and a
plurality of clamps, the front surface adapted for supporting a book, the plurality of clamps disposed on
the front surface to engage and retain the book to the book support platform, the rear surface separated
from the front surface:

A clasp comprising a clip head, a clip body and a pair of resilient clip arms, the clip arms adjustable
mounted on the clip head, the clip head attached to the clip by: and

an arm comprising a first end and a second end and a telescoping arrangement, the clasp on the first
end, second end pivotally attached to the book support platform, the telescoping

arrangement interconnecting the first end to the second end, the clasp spaced from the book support
platform wherein the book holder is removably attached and adjusted to a reading position by telescopic
arrangements axially adjusting the space relation between the support platform and clasp and the pivotal
connection on the book support platform pivotally adjusting the front surface with respect to the arm.

o Preclude one should look into the governing rules, what is the governing rules said, according to the
Appeals court of Hon. Judge Newman state that the claim relevant to the invention the word adaptable
platform be constructed.

DISPUT ARISING.CAN BE CLOSED.

Here the defendant said they relied on line of cases which concluded that US Patent 840 can not legally
claim technology, see the defendant motion to dismiss, at page 18, the defendant did not dispute the
word adaptable support platform or adaptabie platform. The defendant did not dispute the drawing of Fig.
4, which context was translated for an alternative view of US Patent 7,152 840, like the adaptable
platform or adaptable support platform the relevant claim word that reveal technology to the invention is
Connector and interconnector .

During prosecution | informed the examiner all the elements and claimed technologies ( audio and video
equipment) has been found and would be writing in the specification. The audiovisual and equipment
named connector and interconnector in Fig.4, added audio video equipment, cell phone,

laptop, camera, in the claim section, The same connector and interconnector comprises audio/video
and equipment’s, cellphone, phone, television, computer, camera, radio, laptop and cable, screw,
cock screw, bolt, base.

FUNCTIONING

in the claim, it was connecting or interconnecting, the base to the vehicle base, the base interconnecting
the arms, interconnecting hard ware in the pivotal section, adjustable connection to the platform, the
laptop connected to cables and hard ware secure to read and write in the laptop. This was collaborated in
writing and picture by dictionary and others.

FURTHER
Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page 14 of 24

United States District Court of New York
Southern District of New York.
BACKGROUND Reply for Rr

A case from United States Court of appeals Federal Circuit. Docket Number 2017 1842,

A case from Southern District of New York, case number 15 CV 02465, 230F, Supp.3d.192,
dismissed some claims claims and entered summary Judgment of non infringement on remaining
claims. Patentee appealed.

The Court of appeals, ,Newman held that

1. Collateral estoppel and stare decisis required that the construction of the term removable
attach, or mounting, telescoping, arrangement, or or front surface , adapted platform form prior
suit govern in subsequent action

2. The book holder claimed by patent could not plausible be constructed to include or the
equivalent of camera

Prosecution History estoppel as limitation or subject matter surrendered to abstain patent cannot
be recaptured by doctrine of equivalent.

Your Hon. The law require construction of the claim term adapted/adaptable , claim construction
require 1st to understand the meaning of the word, the claimed word is adaptable, and it means
Computer and equipment

Although the invention has been described above described above in connection with particular
embodiment and examples, it will be appreciated by those skilled in the art that the inventions is
not necessarily so limited and that numerous other embodiments, example, uses, modifications
and departures from the embodiments, example and uses are intended to be encompassed by the
claims attached hereto. The entire disclosure of each patent and publication cited herein is
incorporated by reference, as if each such patent or publication were individually incorporated by
reference herein.

The applicant submits that the invention is not anticipated by the prior arts ,Furthermore the use
of adjustable resilient on the clasp for clasping the book holder without tools, axial adjustment
for adjusting the space between the clasp and the book support , rotational adjustment on the arm
between the clasp and the book support, pivotal adjustments between the clasp and the book
support for is not obvious in the not obvious in the light of priories obvious in the light of prior
arts.

Relevant to adjustment and arrangement of tools/ history of Prosecution estoppel From summary
of invention

It is another object of the present invention to provide a clasp comprising a clip having an
adjustable resilient arm for removably attached to a mounting structure on the mobile vehicle.

Relevant to the technology and book, modification/adjustable of equipment.
It is another object of present invention to provide a support platform adaptable for use as a
writing board.

Relevant to adjustably tool, and Modification of technology and equipment’s
It is another object of the present invention to provide a connector means for removably securing
a book to the book holder in a reading position

Brief Description of the drawing
Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page 15 of 24

On Wed, Sep 28, 2022, 10:59 AM Ulmer Park Branch <BPLScans@bklynlibrary.org> wrote:

Although the invention has been described above described above in connection with particular
embodiment and examples,it will be appreciated by those skilled in the art that the inventionis is
not necessarily so limited and that numerous other embodiments,example, uses,

modifications and departures from the embodiments, example and uses are intended to be
encompassed by the claims attached hereto. The entire disclosure of each patent and publication
cited herein is incorporated by reference, as if each such patent or publication were individually
incorporated by reference herein.

The applicant submits that the invention is not anticipated by the prior arts ,Furthermore the use
of adjustable resilient on the clasp for clasping the book holder without tools, axial adjustment
for adjusting the space between the clasp and the book support , rotational adjustment on the arm
between the clasp and the book support, pivotal adjustments between the clasp and the book
support for is not obvious in the not obvious in the light of prioris obvious in the light of prior
arts.

Relevant to adjustment and arrangement of tools/ history of Proscution estoppel From summary
of invention

it is another object of the present invention to provide a clasp comprising a clip having an
adjustable resilient arm for removably attached to a mounting structure on the mobile vehicle.

Relevant to the technology and book, modification/adjustable of equipment.
It is another object of present invention to provide a support platform adaptable for use as a
writing board.

Relevant to adjustably tool, and Modification of technology and equipments
it is another object of the present invention to provide a connector means for removably
securing a book to the book holder in a reading position

Your Hon. The defendant is blindside to only one function of an adjustable resilient clip/arm. Let
me approach the term adjustable resilient clip from another view., the summary of invention
States "it is another object of the present invention to provide a clasp comprising a clip having an
adjustable resilient arm for removably attached to a mounting structure on the mobile vehicle. "
with clarity, no ambiguity, or informalities the summary of invention States to provide a clasp
comprising a clip/scew/cable having this adjustable resilient tools to assemble or secure the book
holder.

The Term Adjustable resilient Clip. See, Fig. 4,. Brief description of drawing,
Fig.4, is a side perspective view of the book holder of Fig. 1, illustrating an alternative clip
arrangement. The defendant can stop been willingfully blind.

Fig. 4, illustrates a book holder410 comprising a book support 412 and a support arm 414. The
support arm414 comprises a clasp 15 , lower section 73 and an upper section 75, the clasp
comprises an adjustable clip 70 mount on the lower section 73, the adjustable is rotatable with
respect to the arm 414 to removably attach the book bolder 410 to a vertical or

horizontal object( eg. Pole not shown) on the mobile vehicle. The arm connector 415

rotatable and slidably attached the lower section 73 of the supporting arm414 to the upper 75,
the upper section 75 has pivotal connector 420 on the (Fig. 4) book support 412. The clip 70 has
adjustable clip arms to allow different sizes of objects to be attached to the book holder 410. The
position of the clip arm 74a, 74b along the clip body 78 can be selectively fixed by a screw 415.
Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page 16 of 24

United States District Court of New York
Southern District of New York.
BACKGROUND Reply for Rr

A case from United States Court of appeals Federal Circuit. Docket Number 2017 1842,

A case from Southern District of New York, case number 15 CV 02465, 230F, Supp.3d.192, dismissed
some claims claims and entered summary Judgment of non- infringement on remaining claims. Patentee
appealed.

The Court of appeals, Newman held that

1. Collateral estoppel and stare decisis required that the construction of the term removable attach, or
mounting, telescoping, arrangement, or front surface , adapted platform form prior suit govern in
subsequent action

2. The book holder claimed by patent could not plausible be constructed to include or the equivalent

of camera
Prosecution History estoppel as limitation or subject matter surrendered to abstain patent cannot be

recaptured by doctrine of equivalent.

Your Hon. The law requires construction of the claim term adapted/adaptable, claim construction require
1st to understand the meaning of the word, the claimed word is adaptable, and it means Computer and
equipment. A reincation of the claims.

ALL THE COURTS IN SDNY AND THE APPEALS COURT ACCEPTED THE
CLAIMED WORDS OF PATENT 840 AS COMMON AND UNDERSTANDABLE.
NO DISPUT ON THE TERMS AND MEANING OF THE UNDERLINED WORD

US PATENT 7,152.840

WE CLAIM

A book holder for removable attachment,
the book holder comprising:

a book support platform, the book support
platform comprising a front surface, a
rear surface and a plurality of clamps,

the front surface adapted for supporting

a book, the plurality of clamps disposed
on the front surface to engage and retain
the book to the book support platform,

the rear surface separated from the front
surface:

a clasp comprising a clip head, a clip body
and a pair of resilient clip arms, the clip
arms adjustably mounted on the clip

head, the clip head attached to the clip
body; and

an arm comprising a first end and a second
end and a telescoping arrangement, the
Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page 17 of 24

clasp on the first end, the second end
pivotally attached to the book support
platform, the telescoping arrangement
interconnecting the first end tob [sic]
the second end, the clasp spaced from
the book support platform wherein

the book holder is removably attached
and adjusted to a reading position

by the telescoping arrangement axially
adjusting the spaced relation between
the book support platform and the clasp
and the pivotal connection on the book
support platformpivotally adjusting the
front surface with respect to the arm
Ottah v v. . First Mobile Technologies: Not * Reported in F. Supp. 2d 0")

san Reuters. No claim io original Uo. Government

 

j
ELEARIER DISCLOSED CLAIM. US PUBL. US 10/366,840

I ChineyeOttah and Kon Woryz Corporation are claiming priority with
noon-start as a head start product and a book holder targeted to
structures use mostly by children.

“Noon-start is the first head start product on children strollers, carriage,
bed, chairs, and on the floor that help mold the kids reading, writing,
singing, and playing habits.

The product give the kids advantages in learning because noon- start can
be use by kids in any environment, at the bus stop. Train, at the park, at
the beach, restaurant, at school, and at hoom. Reading writing, singing,
and playing with book and or AUDIO EQUIMENTS.

Noon-start is a book holder” Book holder is a conjunctive
Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page 18 of 24

1. Abook holder having clip means for clipping Said book
holder onto an object.

2. A book holder according to claim 1 wherein Said book
holder includes a book Support platform and a Supporting
Structure, Said Supporting Structure being coupled to Said
book Support platform, Said clip means being coupled to Said
Supporting structure.35

3. A book holder assembly according to claim 2 further
including rotatable coupling means between the book Sup
port platform to be set at a Selected angle.

4. A book holder according to claim 2 wherein Said
Supporting Structure is 36 coupled to a middle portion of Said
See the publication number US 20040214154A1, Oct. 28, page 3,

book Support platform, Stroller, walker or children carriages.
5. A book holder according to claim 2 where in said
Supporting structure includes a telescoping member.

6. A book holder according to claim 3 wherein a first end

of said telescoping 37 member is attached to the book
Support platform So that it is capable of Supporting the book
Support platform, and Said clip means are attached to a
Second end of Said telescoping member.

7. A book holder according to claim 4 wherein said
Supporting Structure includes a telescoping member which is
adjustable to vary the position of the book Support platform
relative to a base of Said telescoping member.

8. Abook holder according to claim | further including an
Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page 19 of 24

elongate arm having a first end and Second end, Said 39 clip

means being mounted to Said first end, Said Second end being attached to Said
telescoping member for adjusting the position of the book Support platform relative to
Said clip means.

9. A book holder assembly to claim 5 wherein said audio

or telescoping 40 member includes a first and Second open box-shaped units, being
Slidably mounted to Said Second unit in one of Several Selectable positions, and wherein
Said clip means are mounted to Said Second unit.

10. A book holder assembly according to 41 claim 1

wherein Said clip means are adjustable.

11. Abook holder assembly according to claim 4 wherein

Said clip means include a clip body, and a pair of clip

extending from Said clip body, each Said clip arm being fixed

to Said clip body in 42 one of Several Selectable positions along Said clip body.
12. A book holder according to claim 9 wherein said clip

means includes a clip body having a set of mounting positions for mounting a clip arm,
and a Screw threaded into

said clip body for selectively 43 fixing the position of said

clip arm along Said clip body.

 

13. Abook holder assembly according to claim 1 wherein
Said clip means is a Spring clamp.

14. A book holder assembly according to 44claim |
wherein Said clip means is a Spring clip.

15. A book holder according to claim 1 wherein said
means includes at least one resilient clip arm.

16. Abook holder assembly according to claim | wherein
Said clip means is a type clamp. 45

16. Abook holder assembly according to claim 1 wherein

book Support further includes platform clamp means for
Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page 20 of 24

removable Securing a book to Said platform Support.

17. Abook holder assembly cited in claim 17 wherein said
clamp means are adjustable 46

18. Claiming priority as a book holder cited in claim 3

19. A book holder assembly according to claim 17

wherein Said book Support platform includes a Set of mount
ing positions for mounting Said clamp means.

20. A book holder assembly according to claim 2 wherein

Said book Support platform include a portion adapted to be

used as a writing board. 47

21. A book holder assembly according to claim 2 wherein

Said book Support platform includes a Set of mounting positions for receiving and/or
mounting an item. A holder

having connector means for removably Securing Said book
to an object. 48

22. A book according to claim 1 having clip means for
clipping Said book onto an object, or a board.

23. A book holder assembly including a book holder
according to claim 1 and a book holder according to claim
21.

24. A book holder according to claim 549 wherein an
element of Said telescoping or audio member and Said book
Support platform are of unitary construction.

25. A book holder according to claim 1 wherein an

element of Said telescoping 50 member and Said clip means
Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page 21 of 24

are of unitary construction.

26. Abook holder assembly according to claim 1 wherein
Said book Support platform and Said Supporting Structure 51
are made of a material Selected from the group consisting of
plastic, leather, leatherette, form, paper, wood, and metal. A
book holder being substantially as herein described with
reference to the samples, but not limited by an artistic 52

27. A book holder cited in claim | said clip means a bolt

type clamps.

28. Abook holder cited in claim 26 wherein said leaf-lets
or excise leafs are made from plastic.

29. A book holder cited in claim 8 wherein the open box
shaped member are inter connected to form a Stack, or a
three dimensional Structure.

30. A book holder according to claims 1-20 wherein said
object is an open box shaped member.

31. Abook holder being substantially as herein described
with reference to the drawings.

SUBTANTIALLY THE SAME

Your Hon, the same tools and technology is claimed in US patent 7,152,840, see the
words with underscore lines, example Adapted or adaptable, Adjustable, connector,
interconnector, | rely on the dictionary meanings

Your Hon. The defendant claim that US Patent 840 could not plausible cover electronic,
above is an undisputable proof or facts that US Patent See the publication number US
20040214154A1, Oct. 287,152,840 cover electronic but it also cover equipment and
tools, please see claims number 9, 10, 11,12, 13, 14.16, 17, 20, 24

The claim of the electronics follows a standard of Supreme Court, substantially the same,
Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page 22 of 24

See the claim of technology in the earlier disclosure, publication number 10.366,779, date
of publication 02.19.2003, page 2, paragraph 3.it state “ The product give the kid
advantages in learning because noon start can be use by kids in any environment, at the
bus, train, at the park, at the beach, rest rant,, at school, and at home,. Reading.writing,
singing, and playing with books and or audio equipment. Noon start is a book holder.

Your Hon.This is where the title book holder began, a book holder is a conjunctive word for the
book and electronics, to all of the above.

COSMIN MERIR THE AUTHOR OF PROSECUTION HISTORY ESTOPPEL mislead the court

The applicant submits that the invention is not anticipate by the prior arts, further
the use of adjustable , resilient clip arm on the clasp for clasping the book holder

ona movable vehicle provide quick removal and attachment without tools, axial
adjustment for adjusting the space between the clasp and the book support,
rotational adjustment on the arm between the clasp and the book support,
pivotal adjustments between the arm and the book support for is not obvious in
the light of prior art. As described above, the resilient clipis designed to perform
all forms of function, the adjustability is mention above give the product fixability
to use a plain drilling screw and screwdriver or use a combination of screw and
screwdriver, or cork grove, or cork screwdriver, etc, see the meaning of the word
adaptor adapted or adaptable. Please see the summary of the invention, page 2,
paragraph 6, US Patent 840 it state, it is another object of the present to provide
a clasp comprising a clip having an adjustable, resilient clip for removably
attaching to a mounting structure on the mobile vehicle. Please see the claim,
Page 6, paragraph 2, US Patent 840, a clasp comprising a clip head, a clip body

and a pair of resilient clip arms, the cliparms adjustably mounted on the clip
head, the clip head attached to the clipbody; and

ADAPT: also brought to light, that computer programs (laptop) can be adaptable
to individual use,

ADAPT: state that resilient clip is tool that combine two tools into one, example
cork grove sliding, or cork and cork screwdriving, hole, screw, screwdriver. Cable
with copper tip, example power cable, laptop and or laptop ports, wire etc.
Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page 23 of 24

This is repeated in all the claims from disclosure claimed audio and equipment to
publication ,US 20040214154A1, Oct. 28, claim number 9, 10, 11,12,17,20, and 24
claimed in US patent 7,152,840. The word adaptable, connector, interconnect,
and resilient clip a claim for infringement is stated and | rely on the above fact to
request the court to lift the bar on equivalent and remove all the restriction
caused by Mr. cosmin misleading stopple. Reject the uncontroverted evidence
that only the defendant electronic can be mounted with tools (id at197) .

A claim for relief that is plausible.
Case 1:22-cv-10435-JMF Document 2 Filed 12/12/22 Page 24 of 24

According to the specification, all the many mention and context of technology
was rooted in the history of prosecution, | request permission from USPTO to
transfer test of claimed technology and shown in the attached drawing of number
4. And written in claim, and shown now on number 5.

The claim has the words shown in the specification and the meaning is the same
please the attached dictionary means and the process.

The defendant is guilty, violation of 35 USC 271. Please your hon. You can
OVERTURN the previous defendant claims.

 

 

 

 
